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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    HANNAH R. LABAREE, #294338
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     MARTY MARCIANO BOONE
6
7
8                                   UNITED STATES DISTRICT COURT
9                                EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                    )   Case No. 2:16-cr-020 TLN
                                                  )
11                        Plaintiff,              )   WAIVER OF PERSONAL APPEARANCE;
                                                  )   ORDER
12         v.                                     )
                                                  )   Judge: Hon. Troy L. Nunley
13   MARTY MARCIANO BOONE, et al.,                )
                                                  )
14                        Defendants.             )
                                                  )
15
16
            Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, defendant , MARTY
17
     MARCIANO BOONE, hereby waives the right to be present in person in open court upon the
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     hearing of any motion or other proceeding in this case, including, but not limited to, when the
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     case is set for trial, when a continuance is ordered, and when any other action is taken by the
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     court before or after trial, specifically, appearances for any hearing regarding modification of
21
     conditions of supervised release, except upon arraignment, plea empanelment of jury and
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     imposition of sentence.
23
            Defendant hereby requests the Court to proceed during every absence which the Court
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     may permit to this waiver; agrees that defendant’s interests will be deemed represented at all
25
     times by the presence of the defendant’s attorney, the same as if the defendant were personally
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     present; and further agrees to be present in court ready for trial any day and hour the Court may
27
     fix the defendant’s absence.
28

      Waiver of Appearance and Order                  -1-
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1           The defendant further acknowledges being informed of the rights under Title 18 U.S.C.
2    §§ 3161-3174 (Speedy Trial Act), and authorizes the defendant’s attorney to set times and dates
3    under that Act without the defendant’s personal presence.
4           The original signed copy of this waiver is being preserved by the attorney undersigned.
5    Dated: March 7, 2016
6
                                                   /s/ Marty M. Boone
7                                                MARTY MARCIANO BOONE
                                                 Original retained by attorney
8
9           I agree and consent to my Client’s waiver of appearance.
10   Dated: March 7, 2016
                                                   /s/ Hannah R. Labaree
11                                               HANNAH R. LABAREE
12                                               Assistant Federal Defender
                                                 Attorney for Defendant
13                                               MARTY MARCIANO BOONE

14          IT IS SO ORDERED.

15   Dated: March 23, 2016

16
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                                                 Troy L. Nunley
18                                               United States District Judge
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      Waiver of Appearance and Order               -2-
